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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


  In re                                                      Chapter 11

  STANADYNE LLC, et al.,1                                    Case No. 23-10207 (TMH)

                    Debtors.                                 (Jointly Administered)

                                                             Re: Docket No. 604

    NOTICE OF FILING OF PLAN SUPPLEMENT FOR COMBINED DISCLOSURE
     STATEMENT AND PLAN OF LIQUIDATION DATED SEPTEMBER 25, 2023

       PLEASE TAKE NOTICE that on September 25, 2023, Official Committee of Unsecured
Creditors (the “Committee”) for the above-captioned debtors and debtors in possession filed the
Combined Disclosure Statement and Plan of Liquidation Dated September 25, 2023 [Docket
No. 604] (the “Combined Plan”) with the United States Bankruptcy Court for the District of
Delaware (the “Court”).

        PLEASE TAKE FURTHER NOTICE that on September 26, 2023, the Court entered the
Order (I) Approving on an Interim Basis the Adequacy of Disclosures in the Combined Disclosure
Statement and Plan of Liquidation, (II) Scheduling the Confirmation Hearing and Deadline for
Filing Objections, (III) Establishing Procedures for Solicitation and Tabulation of Votes to Accept
or Reject the Combined Plan and Disclosure Statement, and Approving the Form of Ballot and
Solicitation Package, and (IV) Approving the Notice Provisions [Docket No. 614] approving the
Disclosures in the Combined Plan on an interim basis and establishing procedures for solicitation
and tabulation of votes to accept or reject the Combined Plan.

       PLEASE TAKE FURTHER NOTICE that the Combined Plan contemplates the
submission of certain documents (or forms thereof), schedules, and exhibits to the Combined Plan
in advance of the hearing on confirmation of the Combined Plan (the “Confirmation Hearing”).

       PLEASE TAKE FURTHER NOTICE that the Committee hereby files the following
Plan Supplement documents:

          ● Exhibit A – Liquidating Trust Agreement




1 The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
number are: Stanadyne LLC (0378); Pure Power Technologies, Inc. (5202); Stanadyne PPT Holdings, Inc. (2594);
and Stanadyne PPT Group Holdings, Inc. (1734). The Debtors’ headquarters are located at 405 White Street,
Jacksonville, North Carolina 28546.



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       PLEASE TAKE FURTHER NOTICE that the forms of the documents contained in the
Plan Supplement are integral to, and are considered part of, the Combined Plan. If the Combined
Plan is confirmed, the documents contained in the Plan Supplement will be approved by the
Bankruptcy Court pursuant to the order confirming the Combined Plan.

        PLEASE TAKE FURTHER NOTICE that the Committee reserves the right, subject to
the terms and conditions set forth in the Combined Plan, to alter, amend, modify, or supplement
any document in the Plan Supplement; provided, if any document in the Plan Supplement is
altered, amended, the Committee will provide notice of such filing.

        PLEASE TAKE FURTHER NOTICE that the Plan Supplement and Combined Plan
may be viewed for free at the website of the Committee’s balloting agent, Stretto
https://www.kccllc.net/stanadyne or for a fee on the Bankruptcy Court’s website at
http://www.deb.uscourts.gov.

        PLEASE TAKE FURTHER NOTICE that the Confirmation Hearing will be held on
November 21, 2023 at 10:00 a.m. (prevailing Eastern Time) before the Honorable Thomas M.
Horan in the United States Bankruptcy Court for the District of Delaware. Please be advised that
the Confirmation Hearing may be continued from time to time by the Bankruptcy Court without
further notice.

Dated: October 20, 2023                     MORRIS JAMES LLP

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